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                            UNTIED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


USA,
                                              Case Number: 06-30173-01
                          Plaintiff,
 vs.

LABARON SCHARD WARLAW,

                         Defendant./

          PRELIMINARY EXAMINATION FINDINGS OF PROBABLE CAUSE

        This Court finds probable cause exists to believe that violations of 18 U.S.C. 922(g)(1),

18 U.S.C. 924 © and 21 U.S.C. 841 (a)(1) have been committed. This Court further finds that

probable cause exists that Defendant Labaron Schard Wardlaw committed the acts with which he

is charged, specifically knowingly and intentionally possessing crack cocaine base and heroin

with the intent to distribute same, knowingly and intentionally delivering crack cocaine,

possessing firearms including an Intratec 9 MM caliber pistol, model TEC-DC9 with serial

number D066797,a Rossi .38 Caliber revolver with obliterated serial number, and an Imez 410

caliber shotgun model Saiga-410 with serial number H02203434, during the commission of the

above drug offenses, all in violation of Title 18 U.S.C. 922 (g)(1), Title 18 U.S.C. 924 © and

Title 21 U.S.C. 841 (a)(1). Defendant is to appear for further proceedings and will be bound

over.

        IT IS SO ORDERED.



Dated: April 10, 2006                         s/ Mona K . Majzoub
                                              MONA K. MAJZOUB
                                              UNITED STATES MAGISTRATE JUDGE
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                                       Proof of Service

       I hereby certify that a copy of this Order was served upon Counsel of Record on this date.

Dated: April 12, 2006                       s/ Lisa C. Bartlett
                                            Courtroom Deputy
